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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK

ROBERT DEPALMA,

                                Plaintiff,

         -against-                                                1:14-cv-0058 (LEK/CFH)

NEW YORK STATE, et al.,

                                Defendants.


                            MEMORANDUM-DECISION and ORDER

I.       INTRODUCTION

         Pro se Plaintiff Robert Depalma (“Plaintiff”) commenced the present action against

Defendants Scott Don (“Defendant”)1, New York State, and John Does #1 and #2 pursuant to 42

U.S.C. § 1983. Dkt. No. 1 (“Complaint”). Presently before the Court is Defendant’s Motion for

summary judgment. Dkt. Nos. 40 (“Motion”); 40-3 (“Memorandum”); 40-4 (“Defendant’s

Statement of Material Facts”). For the following reasons, the Motion is denied.

II.      BACKGROUND2

         A. Plaintiff’s Underlying Arrest

         The instant action arises out of the circumstances of Plaintiff’s arrest on February 24, 2011.



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        On April 3, 2014, the Court adopted the Report-Recommendation from U.S. Magistrate
Judge Christian F. Hummel, Dkt. No. 5, and dismissed New York State, John Doe #1, and John Doe
#2 as Defendants, leaving only Scott Don as Defendant. Dkt. No. 7. References made to
“Defendant” will therefore refer solely to Scott Don.
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         On a Motion for summary judgment, the facts are drawn from the parties’ statements of
material facts, and ambiguities are resolved and inferences drawn in favor of the non-moving party.
Reeves v. Sanderson Plumbing Prods., Inc., 530 U.S. 133, 150 (2000). Plaintiff has failed to submit
a statement of material facts in compliance with Local Rule 7.1(a)(3). The allowance of Plaintiff’s
version of the facts is discussed below in Part IV.A.
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Def.’s SMF ¶¶ 8, 33. Defendant had been instructed to arrest Plaintiff that day pursuant to a warrant

issued on February 18, 2011. Id. ¶¶ 5-6. Defendant observed Plaintiff in a minivan, which

Defendant and his associates followed to a private residence. Id. ¶ 13, Dkt. No. 41 (“Response”) at

4.3 Defendant and his associates exited their vehicle, at which point Plaintiff ran into a nearby

wooded area. Def.’s SMF ¶¶ 14-16; Resp. at 4. Defendant states that they had identified

themselves as police and were wearing identifying clothing, but Plaintiff states that the men that he

saw approaching were “unknown.” Def.’s SMF ¶¶ 15-16; Resp. at 4. Defendant was behind his

two associates in this pursuit due to falling on ice upon exiting the vehicle. Def.’s SMF ¶ 17.

Defendant was aware of Plaintiff’s prior conviction on a weapons charge, but stated that it was

unclear at the time of the pursuit if Plaintiff was armed. Def.’s SMF ¶¶ 34-35. Plaintiff then heard

one of his pursuers identify himself as police. Id. ¶ 20; Resp. at 4. At this point, Plaintiff spun

around, pulled his hands up, and then was tackled to the ground by one of Defendant’s associates.

Def.’s SMF ¶ 21; Resp. at 4. Defendant helped to restrain Plaintiff on the ground; he states that

Plaintiff was “rolling and twisting.” Def.’s SMF ¶ 24. Plaintiff claims that an officer other than

Defendant struck him in the face with a gun, and another officer kicked him in the face and ribs. Id.

¶¶ 48-50; Resp. at 4. Plaintiff then claims that Defendant “forcefully” slammed his knee onto the

left side of Plaintiff’s face, resulting in the right side of his face being severely bruised. Resp. at 4,

8. Defendant states that he was “not positioned near plaintiff’s upper body at any time” but that

Plaintiff only sustained “minor” or “pink” lacerations on the left side of his face. Def.’s SMF ¶¶ 28,

55.



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              The Court uses the pagination assigned by the Court’s Electronic Court Filing (“ECF”)
system.

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       B. Procedural History

       Plaintiff commenced this action on January 21, 2014, asserting a Fourth Amendment

excessive force claim against New York State and the three officers involved in his arrest. Compl.

On January 27, 2014, U.S. Magistrate Judge Christian F. Hummel granted Plaintiff leave to proceed

in forma pauperis and recommended dismissal of all claims except those against Defendant in his

individual capacity. Dkt. No. 5. The Court adopted the Report-Recommendation on April 3, 2014.

Dkt. No. 7. Defendant filed an Answer on June 10, 2014. Dkt. No. 11.

       Defendant filed a Motion for summary judgment on July 30, 2015. Mot. Defendant argues

that (1) Plaintiff has failed to meet the standard for excessive force discussed in Graham v. Connor,

490 U.S. 386 (1989), and (2) Defendant is entitled to qualified immunity. Mem. at 7-14. Plaintiff

filed his Response on August 31, 2015.4 Resp. In a Reply filed September 9, 2015, Defendant

argued that Plaintiff had failed to raise an issue of material fact and that Defendant’s version of the

facts should be accepted due to Plaintiff’s failure to comply with Local Rule 7.1(a)(3). Dkt. No. 45

(“Reply”). Plaintiff filed a Letter Motion on September 21, 2015 requesting leave to amend his

Response to comply with Rule 7.1(a)(3). Dkt. No. 46.

III.   LEGAL STANDARD

       Federal Rule of Civil Procedure 56(a) instructs a court to grant summary judgment if “there

is no genuine dispute as to any material fact and the movant is entitled to judgment as a matter of

law.” FED. R. CIV. P. 56(a). Although “[f]actual disputes that are irrelevant or unnecessary” will

not preclude summary judgment, “summary judgment will not lie if . . . the evidence is such that a


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          Defendant filed a Letter Motion requesting that Plaintiff’s response be disallowed as it was
filed after the August 24, 2015 deadline. Dkt. No. 42. Judge Hummel denied Defendant’s Letter
Motion and instead extended the deadline for a reply until September 9, 2015. Dkt. No. 43.

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reasonable jury could return a verdict for the nonmoving party.” Anderson v. Liberty Lobby, Inc.,

477 U.S. 242, 248 (1986); see also Taggart v. Time, Inc., 924 F.2d 43, 46 (2d Cir. 1991).

       The party seeking summary judgment bears the burden of informing the court of the basis

for the motion and of identifying those portions of the record that the moving party claims will

demonstrate the absence of a genuine issue of material fact. Celotex Corp. v. Catrett, 477 U.S. 317,

323 (1986). If the non-moving party will bear the burden of proof on a specific issue at trial, the

moving party may satisfy its own initial burden by demonstrating the absence of evidence in support

of an essential element of the non-moving party’s claim. Id. If the moving party carries its initial

burden, then the non-moving party bears the burden of demonstrating a genuine issue of material

fact. Id. This requires the nonmoving party to do “more than simply show that there is some

metaphysical doubt as to the material facts.” Matsushita Elec. Indus. Co. v. Zenith Corp., 475 U.S.

574, 586 (1986). At the same time, a court must resolve all ambiguities and draw all reasonable

inferences in favor of the nonmoving party. Reeves v. Sanderson Plumbing Prods., Inc., 530 U.S.

133, 150 (2000); Nora Beverages, Inc. v. Perrier Grp. of Am., Inc., 164 F.3d 736, 742 (2d Cir.

1998). A court’s duty in reviewing a motion for summary judgment is “carefully limited” to finding

genuine disputes of fact, “not to deciding them.” Gallo v. Prudential Residential Servs., 22 F.3d

1219, 1224 (2d Cir. 1994).

IV.    DISCUSSION

       A. Plaintiff’s Motion to Amend His Response

       Defendant correctly points out in his Reply that Plaintiff has failed to comply with Local

Rule 7.1(a)(3). Reply at 3-4. Local Rule 7.1(a)(3) states that “[t]he Court shall deem admitted any

properly supported facts set forth in the Statement of Material Facts that the opposing party does not


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specifically controvert.” N.D.N.Y. L.R. 7.1(a)(3). Before the Court is a Letter Motion from

Plaintiff requesting leave to amend his Response to comply with Local Rule 7.1(a)(3). While

Defendant correctly states that pro se litigants are not excused from compliance with Local Rule

7.1(a)(3), Alzawahra v. Albany Med. Ctr., No. 11-CV-227, 2012 WL 5386565, at *2 (N.D.N.Y.

Nov. 1, 2012), the Court finds that considering Plaintiff’s submitted facts will better serve the

interests of justice. See Assoc. for Retarded Citizens of Conn., Inc. v. Thorne, 68 F,3d 547, 553 (2d

Cir. 1995) (“[D]istrict courts have ‘inherent power to decide when a departure from its Local Rules

should be excused or overlooked.’” (quoting Somlyo v. J. Lu-Rob Enters., 932 F.2d 1043, 1048 (2d

Cir. 1991))). Given the Statement of Facts laid out in Plaintiff’s Response, the Court finds no

reason to further delay this case to require Plaintiff to amend his Response merely to restructure his

narrative to comply with Local Rule 7.1(a)(3). Therefore, the Court will address Plaintiff’s

objections to Defendant’s facts, and Plaintiff’s Letter Motion to amend his Response is denied.

       B. Excessive Force

       “[A]ll claims that law enforcement officers have used excessive force . . . in the course of an

arrest . . . should be analyzed under the Fourth Amendment . . . .” Graham v. Connor, 490 U.S. at

395. In order to determine whether excessive force was used in connection with an arrest, “the use

of force [must be] objectively unreasonable ‘in light of the facts and circumstances confronting

them, without regard to [the officers’] underlying intent or motivation.’” Jones v. Parmley, 465

F.3d 46, 61 (2d Cir. 2006) (quoting Graham, 490 U.S. at 397). An inquiry of excessive force in

connection with an arrest “requires careful attention to . . . the severity of the crime at issue, whether

the suspect poses an immediate threat to the safety of the officers or others, and whether he is

actively resisting arrest or attempting to evade arrest by flight.” Graham, 490 U.S. at 396; accord


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Brown v. City of New York, 798 F.3d 94, 100 (2d Cir. 2015). The reasonableness of the amount of

force “‘must be judged from the perspective of a reasonable officer on the scene . . . at the moment’

the force is used.” Rogoz v. City of Hartford, 796 F.3d 236, 246-47 (2d Cir. 2015) (quoting

Graham, 490 U.S. at 396).

       Defendant argues that he was positioned near Plaintiff’s lower body from the time at which

he caught up to Plaintiff until Plaintiff was handcuffed, but that in the alternative, Plaintiff suffered

only de minimis injuries from the contact with Defendant’s knee. Def.’s SMF ¶¶ 27-28, 54-55.

Plaintiff claims that he suffered significant facial injuries from Defendant’s knee, and that this

occurred after he had been handcuffed. Resp. at 4, 7-8.

       As a preliminary matter, the Court finds that the only incident that forms the basis for

Plaintiff’s excessive force claim is Defendant slamming his knee into Plaintiff’s face, an even that

Defendant denies occurred. Plaintiff does not mention any other incident in which Defendant

applied excessive force. While the Court may consider the active flight and the potential for

Plaintiff, while fleeing, to pose an immediate threat to the safety of the officers, those are relevant to

judge “the perspective of a reasonable officer” when Defendant actually applied the force. See

Tracy v. Freshwater, 623 F.3d 90, 98 (2d Cir. 2010) (discussing the plaintiff’s previous attempt to

flee in determining that an officer’s later conduct was objectively reasonable).

       The events here are quite similar to the facts in Rogoz, 796 F.3d 236. The plaintiff in that

case was in a car, saw a man exit a car that had been following him and run toward him, and

executed a number of illegal driving maneuvers to get away from the man. Id. at 240. When the

plaintiff heard police sirens and realized that he was being pursued by police, he pulled over to the

side of the road. Id. at 241. The plaintiff then complied with the officers’ instructions to exit the


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vehicle with his hands up and lay face down on the ground with his hands behind his back. Id.

While the plaintiff was lying on the ground waiting to be handcuffed, an officer jumped onto his

back and landed on his knees, fracturing the plaintiff’s ribs and spine. Id. The most severe crime

that the plaintiff was charged with was possession of narcotics. Id. The district court granted

summary judgment, finding that the force used was not excessive and that the defendants were

entitled to qualified immunity. Id. at 243-45. The Second Circuit reversed, noting that two of the

Graham factors, the plaintiff’s immediate threat to officers and the active resistance to arrest, could

not have been met as a matter of law. Id. at 247-48. The Second Circuit concluded that a jury could

easily find that neither factor was satisfied, rejecting the argument that the prior circumstances

evidenced a level of urgency that required a finding in favor of the defendants. Id. at 248. The

Second Circuit has subsequently noted that the weighting of these factors is not precise or rigid and

that they should be taken in the aggregate. Brown, 798 F.3d at 103. However, the Second Circuit

also cautioned that “[a] court’s role in considering excessive force claims is to determine whether a

jury, instructed as to the relevant factors, could reasonably find that the force used was excessive.”

Id.

       Plaintiff was arrested for criminal possession and sale of a controlled substance in the fifth

degree, N.Y. PENAL L. §§ 220.06; 220.31, possession of marijuana in the fourth degree, N.Y. PENAL

L. § 221.15, and resisting arrest. The first two offenses are the most severe and constitute class D

felonies in New York, which carry a maximum sentence of thirty months. N.Y. Penal L.

§ 70.70(2)(a)(iii). While arrests for felony offenses are clearly more urgent, the felonies at issue

here are the fourth most severe of New York’s five classes of felonies. N.Y. PENAL L. § 55.05.

Furthermore, Penal Law §§ 220.06 and 220.31 do not include violence as an element in any form.


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The plaintiff in Rogoz was ultimately charged with felony drug possession, but the Second Circuit

did not directly address the district court’s finding that such a crime was severe. 796 F.3d at 247.

As a result, the Court finds that the severity of the crime does not favor a finding that the force was

unreasonable.

        However, the Court finds that it cannot establish as a matter of law that Plaintiff was

resisting arrest or posed a sufficient a potential threat to the officers such that a knee to Plaintiff’s

face was objectively reasonable. In drawing all inferences in favor of Plaintiff, Reeves, 530 U.S. at

150, the Court notes that neither party has discussed whether Plaintiff was actively resisting arrest at

the time of Defendant’s alleged application of force to Plaintiff’s face. In Rogoz, the plaintiff was

not actively resisting at any point after he pulled over to the side of the road. 796 F.3d at 241.

Defendant states that Plaintiff was “rolling and twisting” on the ground while the officers were

trying to handcuff him. Def.’s SMF ¶ 24. If Plaintiff was attempting to actively resist or if Plaintiff

could still have been reasonably considered a threat to the officers, it is likely that Defendant’s

alleged use of force was not objectively unreasonable. However, Defendant also states that once

Plaintiff was restrained, the remaining events unfolded “without incident.” Id. ¶ 29. If the

application of force occurred once Plaintiff had been restrained, as Plaintiff claims in his Response,

and Plaintiff had stopped resisting, as Defendant states in his timeline, the situation becomes almost

identical to Rogoz.

        Defendant also claims that it was unclear whether Plaintiff was armed throughout the

pursuit. Id. ¶ 35. However, the same analysis regarding Plaintiff’s “rolling and twisting” should

apply here. Once Plaintiff’s active resistance had ceased, it should have been objectively clear to

Defendant that Plaintiff was not going to access any weapon that he might have. Once again, under


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the facts most favorable to Plaintiff, Rogoz controls.

       Neither party further develops the facts relating to Defendant’s alleged application of force

to Plaintiff’s face. Plaintiff describes it as a “slamming” of Defendant’s knee into his cheek, and

Defendant describes the resulting injury as minimal. Resp. at 4; Def.’s SMF ¶ 55. Construing the

facts in the light most favorable to Plaintiff, the Court finds that a reasonable jury could determine

that at the time that the force was being applied, Plaintiff had stopped resisting and Defendant’s

application of force was not objectively related to the previous pursuit and was not proportional to

Defendant’s state of restraint at the time. While not every push or shove constitutes excessive force,

Lennon v. Miller, 66 F.3d 416, 426 (2d Cir. 1995), the Court cannot say that the alleged application

of force by Defendant is, as a matter of law, indisputably not excessive, and thus denies Defendant’s

Motion for summary judgment on this ground.

       C. Qualified Immunity

       Defendant also argues that he is entitled to qualified immunity and thus entitled to summary

judgment. The doctrine of qualified immunity protects government officials from liability for civil

damages as long as their conduct does not “violate clearly-established rights of which an objectively

reasonable official would have known.” Thomas v. Roach, 165 F.3d 137, 142 (2d Cir. 1999);

accord Tracy, 623 F.3d at 95-96. The qualified immunity inquiry therefore proceeds in two parts:

first, whether a statutory or constitutional right was violated when the evidence is “viewed in the

light most favorable to the plaintiff,” and whether that statutory or constitutional right “was clearly

established at the time of the alleged violation.” Tracy, 623 F.3d at 96.

       A constitutional right is “clearly established” when “the contours of the right [are]

sufficiently clear that a reasonable official would understand that what he is doing violates that


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right.” Mollica v. Volker, 229 F.3d 366, 370 (2d Cir. 2000) (quoting Anderson v. Creighton, 483

U.S. 635, 640 (1987)).5 The Second Circuit has found three factors relevant to this inquiry: (1) the

right in question should be defined with “reasonable specificity,” (2) Supreme Court and Second

Circuit decisions support the existence of the right in question, and (3) a reasonable defendant

would understand that their conduct is unlawful under existing law. Mollica, 229 F.3d at 371

(quoting Shechter v. Comptroller of the City of New York, 79 F.3d 265, 271 (2d Cir. 1996)). The

Court has, on numerous occasions, found that the right to be free from excessive force during an

arrest is clearly established. See Dudley v. City of Glens Falls, No. 12-cv-429, 2013 WL 5347291,

at *6 (N.D.N.Y. Sept. 23, 2013); Porath v. Bird, No. 11-cv-963, 2013 WL 2418253, at *9

(N.D.N.Y. June 3, 2013); Galunas v. Reynolds, No. 11-cv-14, 2013 WL 316618, at *9 (N.D.N.Y.

Jan. 28, 2013); see also Breen v. Garrison, 169 F.3d 152, 153 (2d Cir. 1999); Calamia v. City of

New York, 879 F.2d 1025, 1035 (2d Cir. 1989); Robison v. Via, 821 F.2d 913, 923-24 (2d Cir.

1987). The Court follows these decisions and finds that on February 24, 2011, the right to be free

from excessive force during an arrest was clearly established.

       “If there is no dispute as to any material fact, the issue of whether the official’s conduct was

objectively reasonable is an issue of law to be decided by the court.” Dudley, 2013 WL 5347291, at

*6 (citing Zellner v. Summerlin, 494 F.3d 344, 368 (2d Cir. 2007)). However, the Second Circuit

has favored an approach where unresolved factual issues are resolved by the jury before a court

makes the final determination regarding qualified immunity. Id. (citing Zellner, 494 F.3d at 368);



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         While this is the second prong of the qualified immunity analysis, the Supreme Court has
relaxed the rigid ordering prescribed by Saucier v. Katz, 533 U.S. 194 (2001), and stated that district
courts have discretion to consider either element of the qualified immunity claim first. Pearson v.
Callahan, 555 U.S. 223, 236 (2009).

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see also Stephenson v. Doe, 332 F.3d 68, 81 (2d Cir. 2003). Indeed, a finding of qualified immunity

is appropriate when “the only conclusion a rational jury could reach is that reasonable officers

would disagree about the legality of the defendants’ conduct under the circumstances.” Lennon, 66

F.3d at 421.

        Given the uncertainty mentioned above regarding the timing and severity of Defendant’s

alleged actions, the Court finds that summary judgment on qualified immunity is not warranted

based on the facts provided by the parties. It is not the Court’s responsibility, on a motion for

summary judgment, to resolve questions of fact. Gallo, 22 F.3d at 1224. When analyzing a claim of

qualified immunity, the facts must be construed in favor of the plaintiffs. Lennon, 66 F.3d at 420.

Therefore, the possibilities that Defendant did slam his knee into Plaintiff’s face, that Defendant did

so after Plaintiff had stopped resisting, that Defendant did so with an amount of force that would be

objectively assumed to cause serious injury, and that Defendant did so after any imminent threat of

danger had reasonably evaporated must be taken as true as they are either not controverted by

Defendant’s Statement of Material Facts or disputed by Plaintiff. As such, the facts submitted by

both parties are not sufficient to overcome any of these inferences in Plaintiff’s favor. Therefore,

Defendant is not entitled to qualified immunity on summary judgment in this case.

V.      CONCLUSION

        Accordingly, it is hereby:

        ORDERED, that Plaintiff’s Letter Motion (Dkt. No. 46) is DENIED; and it is further

        ORDERED, that Defendant’s Motion (Dkt. No. 40) for summary judgment is DENIED;

and it is further

        ORDERED, that the Clerk of the Court serve a copy of this Memorandum-Decision and


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Order on all parties in accordance with the Local Rules.

       IT IS SO ORDERED.


DATED:         March 31, 2016
               Albany, New York




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